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        EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 09/07/2021 10:20 AM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
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                                                  21STCV32877
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Teresa Beaudet


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                            6       Nabor Cervantes Nieto

                            7

                            8
                                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA,
                            9                                         COUNTY OF LOS ANGELES
                           10
                                   NABOR CERVANTES NIETO, an                                            Case No.:
                           II      individual,
                                                                                                        COMPLAINT FOR:
                           12                 Plaintiff,
                           13                                                                            1. WRONGFUL TERMINATION IN
                                              v.                                                            VIOLATION OF PUBLIC POLICY;
                           14                                                                           2. RETALIATION IN VIOLATION OF
                                   HD SUPPLY MANAGEMENT, INC., a                                            GOV'T CODE §12940, et seq;
                          15       Florida corporation; JESSE                                           3. RETALIATION IN VIOLATION OF LAB
                           16      QUINTANILLA, an individual; RUBEN                                        CODE §246.5, et seq;
                                   DOE, an individual; and DOES I through                               4. DISABILITY DISCRIMINATION;
                           17      I 00, inclusive,                                                     5. FAILURE TO PREVENT
                                                                                                            DISCRIMINATION;
                          18                  Defendants.                                               6. HARASSMENT DUE TO DISABILITY;
                           19                                                                           7. HOSTILE WORK ENVIORNMENT IN
                                                                                                            VIOLATION OF GOVT. CODE §12940
                          20                                                                                ETSEQ.
                                                                                                        8. FAILURE TO ACCOMMODATE
                          21
                                                                                                            PHYSICAL DISABILITY IN
                          22                                                                                VIOLATION OF GOV. CODE §12940(m);
                                                                                                        9. FAILURE TO ENGAGE IN A GOOD
                          23                                                                                FAITH INTERACTIVE PROCESS IN
                                                                                                            VIOLATION OF GOV. CODE §12940(n);
                          24
                                                                                                        10. NEGLIGENT fiRING, SUPERVISION,
                          25                                                                                AND RETENTION;
                                                                                                        11. REFUSAL TO PROVIDE
                          26                                                                                INFORMATION IN VIOLATION OF
                          27
                                                                                                            LABOR CODE SECTION 1198.5;

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                                                                                                  COMPLAINT
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                                                        12. INJUNCTION TO COMPEL
                                                            PRODUCTION OF EMPLOYMENT
     2                                                      RECORDS;
     3                                                  13. UNFAIR COMPETITION

     4   _ _ _ _ _ _ _ _ _ _ _ _ __ j                   AND DEMAND FOR JURY TRIAL
     5
                PlaintiffNabor Cervantes Nieto hereby brings this Complaint and alleges as follows:
     6
         I.     PARTIES
     7
                I.      PlaintiffNabor Cervantes Nieto is and, at all times relevant to the matters
     8
         alleged herein, has been over the age of 18 and a resident of Los Angeles County.
     9
                2.      Plaintiff is informed and believes and thereon alleges that Defendant HD Supply
    10
         Management, Inc. is a corporation organized pursuant to the laws of the State of Florida, is
    II
         authorized to do business and is doing business in the State of California.
    12
                3.      Plaintiff is informed and believes and thereon alleges that Defendant Jesse
    13
         Quintanilla is an individual who, at all times relevant to the matters alleged herein, has been a
    14
         resident of Los Angeles County.
    15
                4.      Plaintiff is informed and believes and thereon alleges that Defendant aRuben
    16
         Doe is an individual who, at all times relevant to the matters alleged herein, has been a resident
    17
         of Los Angeles County.
    18
                5.      Defendants HD Supply Management, Inc., Jesse Quintanilla, Ruben Doe and
    19
         Does I through I 00 are sometimes collectively referred to as "Defendants."
    20
                6.      Defendants HD Supply Management, Inc. and Does I through 100 are
    21
         sometimes collectively referred to as "Employers."
    22
                7.      Plaintiff is ignorant of the true names and capacities of the defendants sued
    23
         herein as DOES 1 through I 00, inclusive, and therefore Plaintiff sues these defendants by such
    24
         fictitious names and capacities. Plaintiff will amend this Complaint to show their true names
    25
         and capacities when they have been ascertained. Plaintiff is informed and believes and thereon
    26
         alleges that at all times relevant, each of these fictitiously named DOE Defendants was an
    27
         individual person who owned, controlled, or managed the business for which Plaintiff worked
    28




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                                                    COMPLAINT
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     I   and/or who directly or indirectly exercised operational control over the wages, hours, and
     2   working conditions of Plaintiff. These DOE Defendants held ownership, officer, director and/or
     3   executive positions with the remaining Defendants, and acted on behalf of the remaining
    4    Defendants, which included decision-making responsibility for, and establishment of, illegal
     5   payroll practices and policies for Defendants which have damaged Plaintiff and others similarly
     6   situated. Therefore, Employers are "employers" as a matter of law and personally liable on the
     7   causes of action alleged herein pursuant to California wage and hour laws and regulations as
     8   alleged herein.
     9          8.         Plaintiff is informed and believes and thereon alleges that at least some of the
    l0   Defendant DOES l through I00 are, and at all times relevant hereto were, persons, corporations
    II   or other business entities organized and existing under and by virtue of the laws of the State of
    12   California, and are/were qualified to transact and conduct business in the State of California,
    13   and did transact and conduct business in the State of California, and are thus subject to the
    14   jurisdiction ofthe State of California. Specifically, said DOES I through 100 maintain offices,
    15   operate businesses, employ persons, and conduct business in, and illegally pay employees by
    16   illegal payroll practices and policies in the County of Los Angeles.
    17          9.         Plaintiff is informed and believes and thereon alleges, that at all times relevant
    18   herein, Defendants and some of DOES I through I 00 were the agents, employees, and/or
    19   servants, masters, or employers of the remaining DOES I through 100, and in doing the things
   20    herein alleged, were acting within the course and scope of such agency or employment, and
   21    with the approval and ratification of each of the other Defendants.
   22            I 0.      Plaintiff is informed and believes and thereon alleges that at all times relevant,
    23   Employers established the wages, hours and other terms and conditions of Plaintiffs
    24   employment to such a degree that Plaintiff was their employee.
    25           II.       An employer or other person acting on behalf of an employer, who violates, or

    26   causes to be violated, a provision regulating minimum wages or hours and days of work in an
    27   order of the Industrial Welfare Commission may be held liable as the employer for that
    28   violation. (Lab. Code §558.l(a).) The term "other person acting on behalf of an employer" is




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        limited to a natural person who is an owner, director, officer, or managing agent of the
    2   employer, and the term "managing agent" has the same meaning as in C.C.P. §3294(b). (Lab.
    3   Code. §558.l(b).)
    4          12.     Plaintiff is further infonned and believes, and thereon alleges, that each of the
    5   fictitiously named Defendants aided and assisted the named Defendants in committing the
    6   wrongful acts alleged herein, and that Plaintiffs damages were proximately caused by each
    7   defendant.
    8   II.    FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

    9          13.     Starting in August 2019 and ending May 5, 2021, Employers employed Plaintiff
   10   as a machine operator for Employers' business located at 21651 Baker Parkway, City of
   II   Industry, California 91789 at an hourly rate of $14.00.
   12          14.     On May 14, 2020, Plaintiff was injured at work. His right foot bent and he hurt
   13   his right knee and meniscus. Plaintiff suffered this injury as a result of cumulative trauma from

   14   repetitive movement that included picking up and transferring heavy boxes to different work
   15   areas. Plaintiffs medical provider placed him on light duty work restrictions which included
   16   not lifting more than 5 pounds and limited walking.
   17          15.     In May 2020, Employers kept asking Plaintiff when he would be able to return

   18   without light duty work restrictions. Plaintiff told them he could not return without restrictions
   19   until released by the doctor.

   20           16.    In May 2020, Plaintiff was harassed by his supervisor defendant Jesse
   21   Quintanilla. He was pressured to keep up the same production level as other employees even
   22   though he was injured. Mr. Quintanilla harassed him when he left to go to doctor's

   23   appointments. He accused Plaintiff of making up excuses to avoid working.
   24           17.    Plaintiff was also harassed due to his work restrictions by lead defendant Ruben
   25   Doe. After he was placed on light duty, Ruben stared aggressively at Plaintiff. Ruben began
   26   micromanaging Plaintiff.

   27           18.    These harassing comments and actions were unwelcome, humiliating and
   28   offensive and adversely affected the terms of Plaintiff's employment. Plaintiff was subjectively




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         offended by Employers' conduct and any reasonable person in Plaintiffs position would
    2    perceive Employers' conduct as being offensive, hostile and abusive. Employers created a
     3   hostile work environment due to disability discrimination.
    4            19.     Due to his disability, Plaintiff suffered from physical limitations and was,
     5   therefore, a member of the class of persons protected from disability discrimination under Cal.
     6   Gov't Code§ 12940(a).
     7          20.      With reasonable accommodation, Plaintiff was able to perform his essential job
     8   duties and was able to perform those duties in a manner that would not endanger his health or
     9   safety or the health or safety of others.
   I0           21.      Employers refused to discuss any reasonable accommodation or engage in any
    II   interactive process for Plaintiffs disability. On November 2, 2020, Employers falsely told
   12    Plaintiff that it could no longer accommodate Plaintiffs restrictions. Consequently, Plaintiff
   13    was forced to take a leave of absence despite the fact Plaintiffs restrictions remained the same.
   14            22.     Human Resources wrongfully terminated him on May 5, 2021. This wrongful
   15    tennination was in retaliation for Plaintiff requesting an accommodation and also due to
   16    discrimination against him for being disabled.
    17           23.     Thereafter, on or about May 10, 2021, Plaintiff was required to have surgery to
    18   repair his torn meniscus after which he was placed off work to recover.
    19           24.     At all times relevant herein, Industrial Welfare Commission ("IWC") Wage
   20    Order No. 9 (8 Cal. Code Regs. § 11090), established minimum standards pertaining to the
   21    wages, hours, and working conditions for all persons employed in the "Transportation
   22    Industry ... whether paid on a time, piece rate, commission, or other basis."
   23            25.     On June 9, 2021, Plaintiff demanded in writing access to his employment
   24    records in accordance with California Labor Code § 1198.5. Those records have not been
   25    produced and Plaintiff has been denied access to his records.
   26            26.     On September I, 2021, Plaintiff filed a California Fair Employment and Housing
   27    Act ("FEHA'') claim. That same day, he obtained a Right to Sue letter regarding this matter
    28   from the Department of Fair Employment and Housing ("DFEH").




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                                            FIRST CAUSE OF ACTION

    2            (Wrongful Termination in Violation of Public Policy Against Employers)
    3          27.        Plaintiffrealleges and incorporates by reference all of the allegations set forth in

    4   this complaint.

    5          28.        Plaintiff was Employers' employee as that term is defined and used pursuant to

    6   Cal. Lab. Code §2750, et seq., and Cal. Gov't. Code §12940, et seq., and common law.

    7          29.        Employers illegally terminated Plaintiff from his employment because of his

    8   disability in violation of the public policy expressed in California law, including but not limited

    9   to Tameny v. Atlantic Richfield Co. (1980) 27 Cal.3d 167.

   10          30.        As a proximate result of this wrongful termination in violation of public policy,

   11   Plaintiff was caused to suffer, and continues to suffer, from humiliation, anxiety, severe

   12   emotional distress, worry, and fear all to Plaintiffs general damage according to proof at the

   13   time of trial, but in an amount not less than $150,000.00.

   14          31.        As a proximate result of this wrongful tern1ination in violation of public policy,

   15   Plaintiff was caused to suffer special damages oflost wages according to proof at the time of

   16   trial, but in an amount not less than $87,360.00.

   17          32.        Employers did the things hereinabove alleged, intentionally, oppressively, and

   18   maliciously with an evil and malevolent motive to injure Plaintiff. These acts, which resulted in

   19   Plaintiffs wrongful termination against public policy, were obnoxious, despicable, and ought

   20   not to be suffered by any member of the community.

   21           33.       All actions of Employers were known, ratified and approved by the officers or

   22   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary

   23   damages against the Employers in an amount to be determined at the time of trial.

   24                                      SECOND CAUSE OF ACTION

   25            (Retaliation in Violation of Gov't Code §12940, et seq Against Employers)

   26           34.       Plaintiff realleges and incorporates by reference all of the allegations set forth in

   27   this complaint.

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    I          35.        Employers' adverse actions taken against Plaintiff as set forth herein occurred in
    2   retaliation for Plaintiffs being injured at work and for having a subsequent medical condition.
    3   Such actions are and were unlawful, discriminatory and retaliatory in violation of Cal. Gov.
    4   Code § 12940 et seq., and resulted in damages and injury to Plaintiff, as alleged herein,
    5   including but not limited to lost wages and benefits according to proof at the time of trial, but in
    6   an amount not less than $87,360.00.
    7          36.        As a proximate result of this retaliatory conduct, Plaintiff was caused to suffer,
    8   and continues to suffer, from humiliation, anxiety, severe emotional distress, worry, fear, and
    9   special damages all to his special and general damage according to proof at the time of trial, but
   10   in an amount not less than $150,000.00.
   II           37.       Employers did the things hereinabove alleged, intentionally, oppressively, and
   12   maliciously with an evil and malevolent motive to injure Plaintiff. These acts, which resulted in
   13   Plaintiffs wrongful termination, were obnoxious, despicable, and ought not to be suffered by
   14   any member of the community.
   15           38.       All actions of Employers were known, ratified and approved by the officers or
   16   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary
   17   damages against the Employers in an amount to be determined at the time of trial.
   18                                      THIRD CAUSE OF ACTION
   19                (Retaliation in Violation of Cal. Lab. §246.5, et seq Against Employers)
   20           39.       Plaintiffrealleges and incorporates by reference all of the allegations set forth in
   21   this complaint.
   22           40.       Employers' adverse actions taken against Plaintiff as set forth herein occurred in
   23   retaliation for Plaintiffs requesting paid sick time. Such actions are and were unlawful,
   24   discriminatory and retaliatory in violation of Cal. Lab §246.5 et seq., and resulted in damages
   25   and il\iury to Plaintiff, as alleged herein, including but not limited to lost wages and benefits
   26   according to proof at the time of trial, but in an amount not less than $87,360.00.
   27           41.       As a proximate result of this retaliatory conduct, Plaintiff was caused to suffer,
   28   and continues to suffer, from humiliation, anxiety, severe emotional distress, worry, fear, and




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     1   special damages all to his special and general damage according to proof at the time of trial, but

     2   in an amount not less than $150,000.00.

     3          42.        Employers did the things hereinabove alleged, intentionally, oppressively, and

     4   maliciously with an evil and malevolent motive to injure Plaintiff. These acts, which resulted in

     5   Plaintiffs wrongful termination, were obnoxious, despicable, and ought not to be suffered by
     6   any member of the community.

     7          43.        All actions of Employers were known, ratified and approved by the officers or
     8   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary

     9   damages against the Employers in an amount to be determined at the time of trial.

    10                                     FOURTH CAUSE OF ACTION
    11                 (Disability Discrimination- Gov. Code §12940, et seq. Against Employers)
    12          44.        Plaintiffrealleges and incorporates by reference all the allegations set forth in

    13   this complaint.

    14          45.        Upon learning about Plaintiffs disability, and not wanting to accommodate him
    15   regarding his disability, and not wanting a disabled employee, Employers terminated Plaintiffs
    16   employment in violation of Cal. Gov't Code §12940.

    17          46.        Plaintiff suffered from physical limitations as set forth above and was therefore a
    18   member of the class of persons protected from disability discrimination under Cal. Gov't Code
    19   § 12940(a).

    20          4 7.       Employers regularly employ five or more persons.

    21          48.        Within one year from the date of the most recent act of discrimination, Plaintiff
    22   filed a charge of disability discrimination with the DFEH and received a right to sue notice.
    23          49.        As a direct and proximate result of the Employers' conduct, individually and
    24   collectively, Plaintiff has suffered and continues to suffer substantial losses in income, earnings,

    25   and benefits and has been damaged in his capacity to earn a salary, and he has lost and will

    26   continue to lose employment benefits.

    27          50.        Employers' disability discrimination acts against Plaintiff as set forth herein are
    28   and were unlawful, discriminatory and retaliatory in violation of Cal. Gov. Code § 12940 et seq.,




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         and resulted in damages and injury to Plaintiff, as alleged herein, including but not limited to
     2   lost wages and benefits according to proof at the time of trial, but in an amount not less than
     3   $87,360.00.

     4          51.        As a direct and proximate result of Employers' and each of their actions,
     5   Plaintiff has suffered severe and serious injury to his person, all to his damage in a sum within

     6   the jurisdiction of this Court and to be shown according to proof, but in an amount not less than

     7   $150,000.00.

     8          52.        Employers' conduct in discriminating against Plaintiff because of his disability
     9   subjected him to cruel and unjust hardship in conscious disregard of his rights, as it was
    10   anticipated by Employers that Plaintiff would be unable to find comparable employment in the
    II   foreseeable future. Plaintiff is informed and believes, and thereon alleges, that his termination
    12   by Employers was done with the intent to cause him injury. As a consequence of the aforesaid
    13   oppressive, malicious and despicable conduct, Plaintiff is entitled to an award of punitive
    14   damages in a sum to be shown according to proof.

    15                                       FIFTH CAUSE OF ACTION
    16                         (Failure to Prevent Discrimination Against Employers)
    17          53.        Plaintiff realleges and incorporates by reference all of the allegations set forth in
    18   this complaint.

    19          54.        Cal. Gov't Code§ 12940(k) provides that it shall be an unlawful employment

    20   practice for an employer to fail to take all reasonable steps necessary to prevent discrimination
    21   from occurring.

    22          55.        Employers violated their duty under the FEHA by failing to take all reasonable
    23   measures to prevent discrimination against Plaintiff.

    24          56.        As a direct, proximate, and legal result of Employers' failure to take preventative

    25   steps, Plaintiff suffered harm, including emotional distress in an amount not less than

    26   $150,000.00 and lost income, and Employers' conduct was a substantial factor in causing
    27   Plaintiffs harm.

    28




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                 57.       Pursuant to Cal. Gov't Code § 12965, Plaintiff is entitled to recover against

     2   Employers the emotional distress and lost income directly caused by Employers' conduct, for
     3   attorney's fees and for costs.

     4           58.       All actions of Employers were known, ratified and approved by the officers or
     5   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary

     6   damages against the Employers in an amount to be determined at the time of trial.

     7                                       SIXTH CAUSE OF ACTION
     8                         (Harassment Due to Disability Against All Defendants)
     9           59.       Plaintiff realleges and incorporates by reference all of the allegations set forth in
    I0   this complaint.

    II           60.       As set forth above, Plaintiff was continuously harassed and subjected to a hostile

    12   work environment by the actions, conduct and comments of Employers' employees, which

    13   actions, conduct and comments combined to create and allow a pattern of harassment towards

    14   him due to his disability. Defendants' actions constituted a continuing violation of Cal. Gov.
    15   Code§ 12940, et seq.

    16           61.       Defendants negligently and in bad faith failed to properly investigate Plaintiff's

    17   claims of harassment and take appropriated remedial action, which caused and contributed to
    18   the existence of the hostile work environment as alleged herein.

    19          62.        Defendants engaged in retaliatory actions against Plaintiff for complaining about

    20   and participating in the investigation of the above-referenced illegal conduct, in furtherance of

    21   the creation and maintenance of a hostile work environment. Because of his complaints about

    22   the illegal conduct as aforesaid, Plaintiff was subjected to unfair and hostile treatment by
    23   Defendants.

    24           63.       All of the conduct by defendants was done with the full knowledge and

    25   ratification of the management employees of Employers and was consistent with the recognized

    26   policies and procedures of Employers, which tolerated and encouraged such harassing conduct.

    27          64.        At all times herein mentioned, Defendants were legally required to refrain from

    28   discriminating against and harassing any employee on the basis of a disability. Within the time




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         provided by law, Plaintiff filed a complaint with the DFEH, in full compliance with these
     2   sections, and received a right to sue letter.
     3             65.    Defendants' conduct resulted in the damages and injuries to Plaintiff as alleged
     4   in this Complaint. As a direct and proximate result of the conduct of Defendants, Plaintiff has
     5   suffered and continues to suffer humiliation, emotional distress, and mental and physical pain
     6   and anguish, all to his damage in a sum according to proof, but in an amount not less than
     7   $150,000.00.
     8             66.   Defendants did the things hereinabove alleged, intentionally, oppressively, and
     9   maliciously with an evil and malevolent motive to injure Plaintiff. These acts, which resulted in
    10   Plaintiff wrongful termination against public policy, were obnoxious, despicable, and ought not
    II   to be suffered by any member of the community.
    12             67.   All actions of Defendants were known, ratified and approved by the officers or
    13   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary
    14   damages against Defendants in an amount to be detennined at the time of trial.
    15                                   SEVENTH CAUSE OF ACTION
    16        (Hostile Work Environment in Violation Gov. Code §12940 et seq.- Against Employers)
    17             68.   Plaintiff realleges and incorporates by reference all of the allegations set forth in
    18   this Complaint.
    19             69.   The offensive conduct to which Plaintiff was subjected constitutes a hostile work
    20   environment in violation to FEHA, Gov. Code § 12940 et seq. During his employment,
    21   Employers violated FEHA, Gov. Code § l2940(j), by discrimination against and harassment of
    22   Plaintiff due to his physical disability.
    23             70.   Employers' discrimination and harassment were hostile, abusive, continuous and
    24   pervasive and created a hostile work environment for Plaintiff.
    25             71.   Employers' discrimination and harassment were unwelcome, humiliating and
    26   offensive and adversely affected the terms of Plaintiffs employment.
    27   II
    28   II




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                 72.       Plaintiff was subjectively offended by Employers' conduct and any reasonable
     2   person in Plaintiff's position would perceive Employers' conduct as being offensive, hostile and
     3   abusive.
     4           73.       As a direct result of Employers' failure to take all reasonable steps necessary to
     5   prevent discrimination and harassment, Plaintiff has suffered and will continue to suffer pain
     6   and suffering, extreme and severe mental anguish and emotional distress, loss of earnings and
     7   earning capacity. Plaintiff is hereby entitled to general and compensatory damages in amounts
     8   to be proven at trial.

     9           74.       Pursuant to Gov. Code §12965(b), Plaintiff requests an award of attorneys' fees
    10   in this action.

    II           75.       All actions of Employers were known, ratified and approved by the officers or
    12   managing agents of Employers. Therefore, Plaintiff is entitled to punitive or exemplary

    13   damages against Employers in an amount to be determined at the time of trial.

    14                                      EIGHTH CAUSE OF ACTION
    15       (Failure to Accommodate Physical Disability in Violation of Gov. Code §12940(m)-
    16                                            Against Employers)
    17           76.       Plaintiff realleges and incorporates by reference the allegations set forth in this
    18   complaint.

    19           77.       As alleged herein, Plaintiff requested that Employers make a reasonable
    20   accommodation for his physical disability so that he would be able to perfonn the essential job
    21   requirements.

    22           78.       Plaintiff was willing to participate in an interactive process to determine whether
    23   reasonable accommodation could be made so that he would be able to perform the essential job
    24   requirements.

    25           79.       Employers refused said accommodation and refused to discuss any other
    26   potential reasonable accommodation they might afford to Plaintiff.

    27           80.       By refusing to afford Plaintiff a reasonable accommodation, Employers violated
    28   Gov. Code §12940(m).




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                 81.       As a direct and proximate result of Defendants' conduct, individually and
     2   collectively, Plaintiff suffered and continues to suffer substantial losses in income, eamings,

     3   and benefits and has been damaged in his capacity to eam his salary, and he has lost and will
     4   continue to lose employment benefits.

     5           82.       As a direct and proximate result of Defendants' actions, Plaintiff has suffered
     6   severe and serious injury to his person, all to his damage in a sum within the jurisdiction of this
     7   Court and to be shown according to proof, but in an amount not less than $150,000.00.
     8           83.       As a result of Employers' oppressive, malicious and despicable conduct,

     9   Plaintiff is entitled to recover punitive damages in a sum to be shown according to proof.
    I0           84.       Pursuant to Gov. Code § 12965(b), Plaintiff requests an award of attomeys' fees
    II   in this action.
    12                                      NINTH CAUSE OF ACTION
    13         (Failure to Engage in a Good Faith Interactive Process in violation of Gov. Code

    14                                      §12940(n)- Against Employers)
    15           85.       Plaintiff realleges and incorporates by reference the allegations set forth in this
    16   complaint.
    17           86.       At all times hereto, FEHA, including in particular Gov. Code § 12940(n), was in

    18   full force and effect and was binding on Employers. This subsection imposes a duty on
    19   Employers to engage in a timely, good faith, interactive process with an employee to determine
    20   reasonable accommodation, if any, in response to a request for a reasonable accommodation by
    21   an employee with a known physical disability or medical condition.
    22           87.       At all relevant times, Plaintiff was a member of a protected class within the

    23   meaning of Gov. Code§ 12940(a) et seq. because he had a disability, due to injuries suffered, of
    24   which Employers had both actual and constructive notice.
    25           88.       Plaintiff reported his disability to Employers, triggering Employers' obligation
    26   to engage in a good faith interactive process with Plaintiff, but at all times herein, Employers
    27   failed and refused to do so.

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     1          89.     Employers breached their statutory duty under FEHA to engage in a timely good

     2   faith interactive process to determine a reasonable accommodation for Plaintiffs physical

     3   disability. Plaintiff further alleges that: (1) that Employers were Plaintiffs employer; (2) that

     4   Plaintiff was an employee of Employers; (3) that Plaintiff sustained an injury that required

     5   reasonable accommodation and which injury was known to Employers; (4) that Plaintiff

     6   requested that Employers make reasonable accommodation for his injury and/or physical

     7   condition so that he would be able to perform the essential functions of his job requirements;

     8   (5) that Plaintiff was willing to participate in the interactive process to determine whether

     9   reasonable accommodation could be made so that he would be able to perform the essential job

    10   requirements; (6) that Employers failed to participate in a timely good faith interactive process

    11   with Plaintiff to determine whether reasonable accommodation could be made; (7) that Plaintiff

    12   was harmed financially; and (8) that Employers' failure to engage in a good faith interactive

    13   process was a substantial factor in causing Plaintiffs damage and harm.

    14          90.     The above acts of Employers constitute violations of the FEHA and were a

    15   proximate cause in Plaintiffs damages.

    16          91.     As a direct and proximate result of Employers' violations of the FEHA, Plaintiff

    17   suffered and continues to suffer substantial losses in income, earnings, and benefits and has

    18   been damaged in his capacity to earn his salary, and he has lost and will continue to lose

    19   employment benefits.

    20           92.    Employers' failures to engage in the good faith interactive process as set forth

    21   herein are and were unlawful, discriminatory and retaliatory in violation of Cal. Gov. Code

    22   § 12940 et seq., and resulted in damages and injury to Plaintiff, as alleged herein, including but
    23   not limited to lost wages and benefits according to proof at the time of trial, but in an amount

    24   not less than $87,360.00.

    25           93.    As a direct and proximate result of Employers' actions, Plaintiff has suffered

    26   severe and serious injury to his person, all to his damage in a sum within the jurisdiction of this

    27   Court and to be shown according to proof, but in an amount not less than $150,000.00.

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                 94.         As a result ofEmployers' oppressive, malicious and despicable conduct,

     2   Plaintiff is entitled to an award of punitive damages in a sum to be shown according to proof.

     3           95.         Pursuant to Government Code §12965(b), Plaintiff requests a reasonable award
     4   of attorneys' fees and costs.

     5                                        TENTH CAUSE OF ACTION
     6                 (Negligent Hiring, Supervision, and Retention Against Employers)
     7           96.         Plaintiff realleges and incorporates by reference all of the allegations set forth in
     8   this complaint.

     9           97.       Upon information and belief, and at all times mentioned in this complaint,
    10   Employers, when hiring employees who job duties entailed supervising, managing, and
    11   administering subordinate employees and following California labor law and anti-
    12   discrimination laws, failed to conduct an adequate background check into the prospective
    13   employee's training and experience such that the people Employers hired were qualified or
    14   competent to undertake the responsibilities required when working their respective job
    15   positions.

    16           98.       Upon information and belief, and at all times mentioned in this complaint,
    17   Employers failed to verify that the prospective employees' assertions that they had sufficient
    18   education, training, and/or job experience and that their claimed experience, training, etc. was
    19   true and accurate. Also, upon information and belief, Employers failed to make sure that the
    20   prospective employees would be able to comply with California law, and they failed to make
    21   sure that the prospective employees would not discriminate against, harass, etc. other
    22   employees based upon their protected status (e.g., disability).
    23           99.         Upon information and belief and at all times mentioned in this complaint,
    24   Employers failed to train, or at a minimum train properly, those employees who would be
    25   responsible for supervising other employees such as Plaintiff. Employers failed to train their
    26   respective employees in how to make sure that their managers and supervisors would follow
    27   California law and that they would not discriminate, harass, etc. other employees based upon
    28   their disability.




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                 I 00.     Upon information and belief and at all times mentioned in this complaint,
     2   Employers failed to discharge or terminate those employees who could not or would not follow
     3   California law and who engaged in discriminatory conduct.

     4           I 0 I.    Employers breached their duty to exercise reasonable care and acted negligently
     5   and carelessly in the hiring, training, supervision, and retention of their supervisors, managers,
     6   or both by failing to give them proper training in following Califomia law and refraining from
     7   engaging in discriminatory conduct.

     8           102.      Consequently, Employers failed to take reasonable steps to protect Plaintiff from
     9   being harassed and wrongfully terminated.

    10           103.      As a direct and proximate result of Employers' actions and omissions,
    II   individually and collectively, Plaintiff suffered and continues to suffer severe mental and
    12   emotional anguish, depression, anxiety, and fear.

    13           104.      As a direct and proximate result of Employers' actions and omissions, Plaintiff
    14   suffered severe and serious injury to his person, all to his damage in a sum within the
    15   jurisdiction of this Court and to be shown according to proof, but in an amount not less than
    16   $150,000.00.

    17                                    ELEVENTH CAUSE OF ACTION

    18    (Refusal to Provide Information in Violation of Labor Code §1198.5 Against Employers)

    19           I 05.     Plaintiff realleges and incorporates by reference all of the allegations set forth in
    20   this complaint.

    21           106.      Plaintiff demanded in writing access to his employment records in accordance
    22   with California Labor Code§ 1198.5. Those records have not been produced and Plaintiff has
    23   been denied access to his records.

    24           107.      As a proximate result of Employers' refusal and failure to provide employment
    25   records, Plaintiff has been required to retain legal assistance, and has incurred costs and
    26   expenses to exercise and enforce his statutory rights.

    27           108.      Plaintiff requests a penalty be assessed against Employers in the sum of$750.00
    28   pursuant to Labor Code § 1198.5(k).




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     I                                    TWELFTH CAUSE OF ACTION

     2           (Injunction to Compel Production of Employment Records Against Employers)
     3            109.     Plaintiffrealleges and incorporates by reference all of the allegations set forth in
     4   this complaint.
     5            II 0.    Plaintiff demanded in writing access to his employment records in accordance
     6   with Labor Code§ 1198.5. Those records have not been produced and plaintiff has been denied
     7   access to his records.
     8            Ill.     As a proximate result of Employers' refusal and failure to provide employment
     9   records. Plaintiff has been required to retain legal assistance and has incurred costs and
    I0   expenses to exercise and enforce his statutory rights.
    II            112.     Plaintiff requires injunctive relief, as authorized by Labor Code § 1198.5(1), to
    12   compel production of Plaintiffs employment records to Plaintiff.
    13            113.     Plaintiff has been required to retain legal assistance and has incurred costs and
    14   expenses to exercise his statutory rights, Plaintiff requests an award of attorney's fees and court
    15   cost.
    16                                  THIRTEENTH CAUSE OF ACTION

    17                                 (Unfair Competition Against Employers)
    18            114.     Plaintiff rea lieges and incorporates by reference all of the allegations set forth in
    19   this complaint.
    20            115.     Cal. Bus. & Prof. § 17200 et seq. prohibits acts of unfair competition, which shall
    21   mean and include any "unlawful and unfair business practices."
    22            116.     Defendants' conduct as alleged herein has been and continues to be unfair,
    23   unlawful, and deleterious to Plaintiff. Plaintiff hereby seeks to enforce important rights
    24   affecting the public interest within the meaning of the Cal. Code ofCiv. Proc. §1021.5.
    25            117.     Plaintiff is a "person" within the meaning of Cal. Bus. & Prof. Code § 17204, and
    26   therefore has standing to bring this suit for restitution.
    27            118.     The prompt payment of overtime is a fundamental public policy of the State of
    28   California. It is also the public policy of this State to enforce minimum labor standards, to




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     I   ensure that employees are not required or permitted to work under substandard and unlawful
     2   conditions, and to protect those employers who comply with the law from losing competitive
     3   advantage to other employers who fail to comply with labor standards and requirements.
     4           119.   Through the conduct alleged herein, Defendants acted contrary to these public
     5   policies and have thus engaged in unlawful and/or unfair business practices in violation of Cal.
     6   Bus. & Prof. Code§§ 17200 et. seq., depriving Plaintiff of the rights, benefits, and privileges
     7   guaranteed to employees under California law.
     8           120.   Defendants regularly and routinely violated the California Fair Employment and
     9   Housing Act (FEHA) statutes and regulations with respect to Plaintiff.
    I0           121.   By engaging in these business practices, which are unfair business practices
    11   within the meaning of Cal. Bus. & Prof. Code §§17200 et seq., Defendants harmed Plaintiff and
    12   gained an unfair competitive edge. Under Cal. Bus. & Prof. Code § 17203, Plaintiff is entitled to
    13   obtain restitution of these funds.
    14                                        PRAYERFORRELIEF
    15          WHEREFORE, Plaintiff respectfully prays that this Court enter judgment in his favor
    16   and against Defendants, and each of them, as follows:
    17           I.     For an award of consequential damages in Plaintiffs favor and against
    18   Defendants, in an amount to be proven at trial, but in an amount not less than $87,360.00;
    19           2.     For an award of general damages according to proof at the time of trial, but in an
    20   amount not less than $150,000.00;
    21           3.     For a preliminary and permanent injunction ordering Defendants to disclose
    22   Plaintiffs payroll records;
    23           4.      For reasonable costs, including attorneys' fees, in an amount according to proof
    24   pursuant to Cal. Gov't Code §12965(b);
    25           5.      For reasonable costs, including attorneys' fees, in an amount according to proof
    26   pursuant to Cal. Code ofCiv. Proc. §I 021.5;
    27           6.      That a penalty be assessed against Employers in the sum of $750.00 pursuant to
    28   Labor Code § 1198.5(k);




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     I              7.     For injunctive relief, as authorized by Labor Code § 1198.5(1), to compel
     2   Employers to produce Plaintiffs employment records;

     3              8.     For disgorgement of profits;

     4              9.     For punitive and exemplary damages in a sum to be determined at trial; and
     5              I 0.   For such other and further relief as the Court deems just and proper.
     6                                      DEMAND FOR JURY TRIAL

     7              PlaintiffNabor Cervantes Nieto demands trial by jury in this action of all issues so
     8   triable.

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    10                                                LIPELES LAW GROUP, APC
         Date: September 2, 2021
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    13                                                           Thomas H. Schelly
                                                                 Attorneys of record for Plaintiff,
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                                                                 Nabor Cervantes Nieto
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